 Case 1:19-cr-00057-LO Document 254 Filed 12/05/19 Page 1 of 4 PageID# 1228



                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

                                                                                          FILED
UNITED STATES OF AMERICA                                                          IN OFF'-.'roiiPT


       V.                                            No. l:19-cr-57(LO            DEC-5
ANGEL HOANG LE,                                                             CLEFK. U r-
                                                                               ALEXAI -

       Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant. Angel Hoang Le (hereinafter "the defendant"),

agree that the United States would have proven the following facts at trial, beyond a reasonable

doubt, with admissible and credible evidence:

       1,      From in and around March 2017, and continuing until in or about January 2018,

in Lorton, Virginia, within the Eastern District of Virginia, the defendant, did unlawfully,

knowingly, and intentionally lease, rent, use. and maintain an apartment located at 9030 Lorton

Station Boulevard, Lorton, Virginia, for the purpose of distributing and using marijuana,

Tetrahydrocannabinol("THC"), and other controlled substances, in violation of Title 21, United

States Code, Section 856(a)(1).

       2,      From in and around March 2017, until the defendant's arrest in April 2019, the

defendant was in a relationship with Peter Le. At that time. Peter Le occupied a leadership role

in Club Tigers, a criminal street gang operating in northern Virginia.

       3,      During this time period, the defendant and Peter Le lived together at the

apartment located in Lorton and at other locations. At each location, Peter Le stored marijuana

and other controlled substances. Further, Peter Le conducted drug transactions and gang-related
Case 1:19-cr-00057-LO Document 254 Filed 12/05/19 Page 2 of 4 PageID# 1229
Case 1:19-cr-00057-LO Document 254 Filed 12/05/19 Page 3 of 4 PageID# 1230
Case 1:19-cr-00057-LO Document 254 Filed 12/05/19 Page 4 of 4 PageID# 1231
